                Case 18-04002-dd                  Doc 1         Filed 08/07/18 Entered 08/07/18 07:15:12                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     George                                                           Carroll
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Louis                                                            Cox
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Schweers                                                         Schweers
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have Louis George Schweers
     used in the last 8 years G. Louis Schweers                                                     Carroll C. Schweers
                                   Louie Schweers                                                   Carroll Schweers
     Include your married or
     maiden names.                 George L. Schweers



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2403                                                      xxx-xx-8324
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   George Louis Schweers
Debtor 2   Carroll Cox Schweers                                                                       Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification    I have not used any business name or EINs.
     Numbers (EIN) you have                                                                       I have not used any business name or EINs.
     used in the last 8 years
                              DBA Jayspen Properties
                                 DBA Louis Schweers, PE
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 908 Cavalry Circle
                                 Mount Pleasant, SC 29464
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Charleston
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    George Louis Schweers
Debtor 2    Carroll Cox Schweers                                                                          Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 2    Carroll Cox Schweers                                                                           Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 2    Carroll Cox Schweers                                                                       Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    George Louis Schweers
Debtor 2    Carroll Cox Schweers                                                                          Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ George Louis Schweers                                         /s/ Carroll Cox Schweers
                                 George Louis Schweers                                             Carroll Cox Schweers
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     August 7, 2018                                    Executed on     August 7, 2018
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   George Louis Schweers
Debtor 2   Carroll Cox Schweers                                                                           Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Russell A. DeMott                                              Date         August 7, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Russell A. DeMott
                                Printed name

                                DeMott Law Firm, P.A.
                                Firm name

                                103 Grandview Drive
                                Suite B
                                Summerville, SC 29483
                                Number, Street, City, State & ZIP Code

                                Contact phone     (843) 695-0830                             Email address         russ@demottlawfirm.com
                                DC I.D. 10020 SC
                                Bar number & State




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                        AIR PLUS, LLC
                        908 CAVALRY CIRCLE
                        MOUNT PLEASANT SC 29464


                        APPSPRINGS COFFEE
                        P.O. BOX 40192
                        CHARLESTON SC 29423-0192


                        BANK OF AMERICA
                        ATTN: BANKRUPTCY NC4-105-02-77
                        P.O. BOX 26012
                        GREENSBORO NC 27410


                        BANK OF AMERICA
                        ATTN: BANKRUPTCY
                        P.O. BOX 982238
                        EL PASO TX 79998


                        BANK OF AMERICA
                        4909 SAVARESE CIRCLE
                        FL1-908-01-50
                        TAMPA FL 33634


                        BANK OF AMERICA
                        4909 SAVARESE CIRCLE
                        TAMPA FL 33634


                        BANK OF AMERICA
                        P.O. BOX 982238
                        EL PASO TX 79998


                        BANK OF AMERICA
                        PO BOX 982238
                        EL PASO TX 79998


                        BFS CAPITAL
                        3301 N. UNIVERSITY DRIVE, SUITE 300
                        CORAL SPRINGS FL 33065


                        BROCK & SCOTT, P.L.L.C.
                        3800 FERNANDINA ROAD
                        SUITE 110
                        COLUMBIA SC 29210
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                    BRUSH LAW FIRM
                    12-A CARRIAGE LANE
                    P.O. BOX 31459
                    CHARLESTON SC 29417


                    BRUSH LAW FIRM
                    12A CARRIAGE LANE
                    CHARLESTON SC 29407


                    BUILDERS MUTUAL INSURANCE COMPANY
                    5580 CENTERVIEW DRIVE
                    RALEIGH NC 27606


                    CANON FINANCIAL SERVICES
                    14904 COLLECTIONS CENTER DRIVE
                    CHICAGO IL 60693


                    CAPITAL ONE
                    ATTN: BANKRUPTCY
                    P.O. BOX 30285
                    SALT LAKE CITY UT 84130


                    CAPITAL ONE
                    15000 CAPITAL ONE DR
                    RICHMOND VA 23238


                    CARRIER ENTERPRISE LLC
                    LINDSAY CRAWFORD
                    P.O. BOX 4216
                    COLUMBIA SC 29240


                    CC DICKSON CO.
                    P.O. BOX 13501
                    ROCK HILL SC 29731-3501


                    CHARLESTON COUNTY COURT OF COMMON PLEAS
                    100 BROAD STREET, SUITE 106
                    CHARLESTON SC 29401


                    CHARLESTON COUNTY MAGISTRATE'S COURT
                    995 MORRISON
                    CHARLESTON SC 29403
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                    CHARLESTON COUNTY TREASURER
                    P.O. BOX 878
                    CHARLESTON SC 29402


                    CINTAS
                    9540 HANBURG ROAD
                    LADSON SC 29456


                    CITIBANK - EXXON MOBILE
                    CENTRALIZED BANKRUPTCY
                    P.O. BOX 790034
                    ST LOUIS MO 63179


                    CITY OF CHALRESTON - SMALL CLAIMS
                    180 LOCKWOOD DRIVE
                    CHARLESTON SC 29403


                    CLIENT SERVICES
                    3451 HARRY TRUMAN BOULEVARD
                    SAINT CHARLES MO 63301


                    COMCAST SPOTLIGHT
                    P.O. BOX 100495
                    ATLANTA GA 30384-0495


                    COMENITY AWARDS BUSINESS CREDIT
                    P.O. BOX 659445
                    SAN ANTONIO TX 78265-9445


                    COURTNEY JONES
                    2150 ELEANOR DRIVE
                    NORTH CHARLESTON SC 29418


                    CREDIT FIRST NATIONAL ASSOCIATES
                    ATTN: BK CREDIT OPERATIONS
                    P.O. BOX 81315
                    CLEVELAND OH 44181


                    CRF SOLUTIONS
                    2051 ROYAL AVENUE
                    SIMI VALLEY CA 93065


                    D & A SERVICES
                    1400 E. TOUHY AVENUE, SUITE G2
                    DES PLAINES IL 60018
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                    DAVID & STACEY REID
                    4720 BAYFIELD DRIVE
                    NORTH CHARLESTON SC 29418


                    DELTA INDUSTRIAL ELECTRIC CO.
                    2528 SPRUILL AVENUE
                    NORTH CHARLESTON SC 29405


                    DOCUSYSTEMS
                    P.O. BOX 1271
                    MYRTLE BEACH SC 29578


                    EPTING DISTRIBUTORS, INC.
                    300 INDUSTRIAL DRIVE
                    LEXINGTON SC 29072


                    EQUIFAX
                    P.O. BOX 740241
                    ATLANTA GA 30374-0241


                    ERICA SMITH
                    4735 LINFIELD LANE
                    NORTH CHARLESTON SC 29418


                    EXPERIAN
                    475 ANTON BOULEVARD
                    COSTA MESA CA 92626


                    FEDERATE MUTUAL INSURANCE COMPANY
                    C/O ANTHONY D. HOEFER
                    P.O. BOX 730
                    SUMTER SC 29151


                    FERGUSON RECEIVABLES, LLC
                    C/O SAMUEL FLEDER
                    P.O. BOX 26268
                    RALEIGH NC 27611


                    FIRST CITIZEN'S BANK AND TRUST
                    1230 MAIN STREET
                    COLUMBIA SC 29201
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                    FIRST CITIZENS BANK & TRUST COMPANY
                    DAC-36
                    P.O. BOX 25187
                    RALEIGH NC 27611-5187


                    FSI OFFICE
                    P.O. BOX 563953
                    CHARLOTTE NC 28256


                    FUEL EXPRESS SOUTH
                    P.O. BOX 19017
                    HOUSTON TX 77224-9017


                    GC SERVICES LIMITED PARTNERSHIP
                    P.O. BOX 3855
                    HOUSTON TX 77253


                    GEODIGITAL BROADCASTING NETWORK, LLC
                    2871 HARVARD ROAD
                    CHARLESTON SC 29414


                    GLS ENGINEERING
                    908 CAVALRY CIRCLE
                    MOUNT PLEASANT SC 29464


                    GRAINGER
                    DEPT 876829797
                    PALATINE IL 60038-6000


                    GREGORY PRESTON COWAN
                    1315 WESTBROOK PLAZA DRIVE
                    WINSTON SALEM NC 27103


                    HOFFMAN HOFFMAN, INC.
                    P.O. BOX 896000
                    CHARLOTTE NC 28289-6000


                    INTERNAL REVENUE SERVICE
                    P.O. BOX 7346
                    PHILADELPHIA PA 19101-7346


                    ISLAND PUBLICATIONS
                    134 COLUMBUS STREET
                    CHARLESTON SC 29403
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                    JASMINE BROWN
                    2150 ELEANOR DRIVE, APT. B
                    CHARLESTON SC 29406


                    JAYSPEN PROPERTIES
                    908 CAVALRY CIRCLE
                    MOUNT PLEASANT SC 29464


                    JOHN J. DODDS, III
                    858 LOWCOUNTRY BLVD, SUITE 101
                    MOUNT PLEASANT SC 29464


                    JOHNSTONE SUPPLY INC.
                    C/O EDWARD GRIMSLEY
                    P.O. BOX 11682
                    COLUMBIA SC 29211


                    JOSEPH GILLIARD
                    2150 ELEANOR DRIVE
                    NORTH CHARLESTON SC 29418


                    KRYA MORRIS
                    107 PITT STREET
                    MOUNT PLEASANT SC 29464


                    LARRY D. COHEN
                    P.O. BOX 30547
                    CHARLESTON SC 29417


                    LENNOX INDUSTRIES, INC.
                    P.O. BOX 910549
                    DALLAS TX 75391-0549


                    LEXUS FINANCIAL SERVICES
                    LEXUS FINANCIAL SERVICES
                    P.O. BOX 8026
                    CEDAR RAPIDS IA 52409


                    LINDEN CONSTRUCTION COMPANY
                    100 BRIGADE STREET, SUITE 100
                    CHARLESTON SC 29402


                    LOWCOUNTRY LOADS LLC
                    102 JACKSON STREET
                    SUMMERVILLE SC 29483
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                    LOWCOUNTRY PRIVATE LENDING
                    3713 PINE STREET
                    JACKSONVILLE FL 32205


                    LUCAS AUTO REPAIR & TIRE CENTER
                    3816 DORCHESTER ROAD
                    NORTH CHARLESTON SC 29405


                    MCCALL'S INC.
                    4575 RIVERS AVENUE
                    NORTH CHARLESTON SC 29405


                    MCCARTHY, BURGESS & WOLFF
                    26000 CANNON ROAD
                    CLEVELAND OH 44146


                    MCCARTHY, BURGESS & WOLFF
                    THE MB&W BUILDING
                    26000 CANNON ROAD
                    CLEVELAND OH 44146


                    NASON MEDICAL CENTER
                    P.O. BOX 50339
                    SUMMERVILLE SC 29485


                    OTT DISTRIBUTORS
                    1024 ARAGON STREET
                    NORTH CHARLESTON SC 29405


                    PATENAUDE & FELIX, APC
                    4545 MURPHY CANYON ROAD
                    3RD FLOOR
                    SAN DIEGO CA 92123


                    PINNACLE
                    150 3RD AVENUE SOUTH
                    NASHVILLE TN 37201


                    PINNACLE BANK
                    114 W COLLEGE STREET
                    MURFREESBORO TN 37130


                    PIONEER CREDIT RECOVERY, INC.
                    P.O. BOX 500
                    HORSEHEADS NY 14845
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                    PITNEY BOWES
                    P.O. BOX 371874
                    PITTSBURGH PA 15250-7874


                    RALPH COX
                    30 ALDRIDGE DRIVE
                    GREENVILLE SC 29607


                    RICHARD T. AVIS ATTORNEY AND ASSO, LLC
                    P.O. BOX 31579
                    CHICAGO IL 60631


                    RICHMOND NORTH
                    4955 NORTH BAILEY AVENUE, SUITE 109
                    BUFFALO NY 14226-1206


                    ROBBIE FISCHER



                    ROGER, TOWNSEND & THOMAS, PC
                    P.O. BOX 100200
                    COLUMBIA SC 29202


                    ROPER ST. FRANCIS
                    P.O. BOX 650292
                    DALLAS TX 75265-0292


                    RUBY SCHWEERS
                    317 MIDDLE STREET
                    MOUNT PLEASANT SC 29464


                    SC DEPARTMENT OF REVENUE
                    CORPORATE INCOME TAX PAYMENT
                    COLUMBIA SC 29214-0007


                    SHALON WILLIAMS
                    4734 WHITFWILL BLVD.
                    NORTH CHARLESTON SC 29418


                    SHELL - CITI
                    ATTN: BANKRUPTCY DEPARTMENT
                    701 60TH STREET NORTH
                    SIOUX FALLS SD 57104
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                    SHERLOQ FINANCIAL
                    P.O. BOX 2842
                    TAMPA FL 33601


                    SMALL BUSINESS ADMINISTRATION
                    801 TOM MARTIN DRIVE, SUITE 120
                    BIRMINGHAM AL 35211


                    SOUTH CAROLINA
                    DEPARTMENT OF REVENUE
                    301 GERVAIS STREET
                    P.O. BOX 125
                    COLUMBIA SC 29214


                    SUPERIOR PLUS CONSTRUCTIONS PRODUCTS
                    P.O. BOX 904079
                    CHARLOTTE NC 28290-4079


                    SUZANNE CAMPBELL CHISHOLM
                    P.O. BOX 684
                    MOUNT PLEASANT SC 29465


                    SYNCHRONY BANK - CARE CREDIT
                    ATTN: BANKRUPTCY DEPT
                    P.O. BOX 965061
                    ORLANDO FL 32896


                    THE BANK OF SOUTH CAROLINA
                    P.O. BOX 538
                    NORTH CHARLESTON SC 29405


                    THE BANK OF SOUTH CAROLINA
                    P.O. BOX 538
                    CHARLESTON SC 29402


                    THE SANDLAPPER MANAGEMENT GROUP, LLC
                    579 FOLLY ROAD, #13047
                    CHARLESTON SC 29422


                    THERMAL RESOURCE SALES, INC.
                    P.O. BOX 667
                    KERNERSVILLE NC 27285
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                    TNB-VISA (TV) - TARGET
                    FINANCIAL & RETAIL SERVICES
                    MAILSTOP BV, P.O. BOX 9475
                    MINNEAPOLIS MN 55440


                    TNB-VISA (TV) / TARGET
                    P.O. BOX 673
                    MINNEAPOLIS MN 55440


                    TONVET BRYANT
                    4730 WHITWILL BLVD.
                    NORTH CHARLESTON SC 29418


                    TOTAL TRAFFIC & WEATHER NETWORK
                    62301 COLLECTIONS CENTER DRIVE
                    CHICAGO IL 60693-0623


                    TRANE COMFORT SOLUTIONS, INC.
                    P.O. BOX 406469
                    ATLANTA GA 30384-6469


                    TRANSUNION
                    2 BALDWIN PLACE
                    P.O. BOX 1000
                    CHESTER PA 19022-2001


                    U.S. ATTORNEY FOR SOUTH CAROLINA
                    1441 MAIN STREET
                    SUITE 500
                    COLUMBIA SC 29201


                    UNITED REFRIGERATION INC.
                    C/O CLARKSON AND HALE, LLC
                    P.O. BOX 287
                    COLUMBIA SC 29202


                    UNITED STATES OF AMERICA
                    OFFICE OF THE ATTORNEY GENERAL
                    TENTH STREET AT CONSTITUTION AVENUE
                    WASHINGTON DC 20530


                    VERIZON
                    P.O. BOX 660108
                    DALLAS TX 75266-0108
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                    WELLS FARGO BANK
                    C/O BROCK & SCOTT, PLLC
                    1315 WESTBROOK PLAZA DRIVE
                    WINSTON SALEM NC 27103


                    WELLS FARGO BANK
                    ATTN: BANKRUPTCY DEPT
                    P.O. BOX 6429
                    GREENVILLE SC 29606


                    WELLS FARGO BANK
                    P.O. BOX 77053
                    MINNEAPOLIS MN 55480-7753


                    WELLS FARGO BANK
                    P.O. BOX 14517
                    DES MOINES IA 50306


                    WELLS FARGO BANK
                    P.O. BOX 94435
                    ALBUQUERQUE NM 87199


                    WELLS FARGO HOME MORGAGE
                    P.O. BOX 10335
                    DES MOINES IA 50306


                    WELLS FARGO HOME MORTGAGE
                    ATTN: BANKRUPTCY DEPARTMENT
                    8480 STAGECOACH CIRCLE
                    FREDERICK MD 21701


                    WILLIAM HALL
                    P.O. BOX 40413
                    CHARLESTON SC 29423


                    WILLIAMS TIRE
                    3995 DORCHESTER ROAD
                    NORTH CHARLESTON SC 29405


                    YASHECE SMITH
                    4717 LINFIELD LANE
                    NORTH CHARLESTON SC 29418
